     Case 2:20-cv-10647-AB-AFM Document 82 Filed 10/18/21 Page 1 of 2 Page ID #:1265




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                               UNITED STATES DISTRICT COURT
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                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                      WESTERN DIVISION
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12    KIMBALL-GRIFFITH L.P.,                   No. 2:20-cv-10647-AB (AFMx)
13               Plaintiff,                    [PROPOSED] FINAL JUDGMENT IN
                                               FAVOR OF DEFENDANTS
14                      v.
                                               Honorable André Birotte Jr.
15    BRENDA WREN BURMAN, in her               United States District Judge
      official capacity as the Commissioner
16    of the United States Bureau of
      Reclamation; et al.,
17
                 Defendants.
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     Case 2:20-cv-10647-AB-AFM Document 82 Filed 10/18/21 Page 2 of 2 Page ID #:1266




1           Defendants’ Motions to Dismiss Plaintiff’s First Amended Petition came on for
2     hearing on September 17, 2021. On October 1, 2021, after full consideration of the
3     Motions and arguments of counsel, the Court granted Defendants’ Motions and
4     dismissed the First Amended Petition with prejudice.
5           Accordingly, IT IS HEREBY ORDERED that Final Judgment be entered in favor
6     of Defendants.
7           IT IS SO ORDERED.
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9                                                    ________________________________
       Dated: October 18, 2021
10                                                   HONORABLE ANDRÉ BIROTTE JR.
                                                     United States District Judge
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